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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                               Chapter 7

ALEX JONES,                                          Case No. 22-33553

                Debtor.


                         TRUSTEE’S WITNESS AND EXHIBIT LIST
                        FOR FRIDAY, OCTOBER 25, 2024, HEARING
                                 [Relates to Dkt. No. 882]
       Christopher R. Murray in his capacity as Chapter 7 Trustee (the “Trustee”) for the
bankruptcy estate of Alexander E. Jones (“Alex Jones”) files this Witness and Exhibit List for the
hearing to be held on Friday, October 25, 2024, at 9:00 a.m. (prevailing Central Time) before the
Honorable Christopher Lopez at the United States Bankruptcy Court for the Southern District of
Texas, Courtroom 401, 515 Rusk Street, Houston, Texas 77002.

                                           EXHIBITS

                                                           M     O   O   A    D
                                                                                    Disposition
                                                           A     F   B   D    A
    No.       Description                                                           After Trial
                                                           R     F   J   M    T
              Order Granting Trustee’s Motion for
         1.   Entry of an Order Authorizing the
              Winddown of Free Speech Systems, LLC
              Order Supplementing Order Dismissing
         2.
              Case
              Trustee’s Emergency Motion for Entry of
              an Order Authorizing (I) the Sale of
              Intellectual Property Assets in Connection
              with the Winddown of Free Speech
         3.
              Systems, LLC and (II) the Assumption and
              Assignment of Executory Contracts
              (inclusive of exhibits thereto) [Dkt. No.
              882]
              Debtor’s Motion to Assume Existing Book
              Contract Pursuant to 11 U.S.C. § 365 and
         4.   Approve New Contract Pursuant to U.S.C.
              §§ 105 and 363 (b) (inclusive of exhibits
              thereto) [Dkt. No. 368]



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                                                          M    O     O     A   D
                                                                                    Disposition
                                                          A    F     B     D   A
    No.       Description                                                           After Trial
                                                          R    F     J     M   T
              Any pleading or other document filed with
       5.     the Court on the docket of the above-
              captioned chapter 7 case
              Any exhibit necessary to rebut the
       6.     evidence or testimony of any witness
              offered or designated by any other party
       7.     Any exhibit listed by any other party

                                          WITNESSES
       1.       Christopher R. Murray, Trustee for the Alex Jones bankruptcy estate
       2.       Jeff Tanenbaum, President of ThreeSixty Asset Advisors
       3.       Any witness listed by any other party.


       The Trustee reserves the right to amend and/or supplement this Witness and Exhibit List

as necessary in advance of the Hearing. The Trustee also reserves the right to use any exhibits

presented by any other party and to ask the Court to take judicial notice of any document. Finally,

the Trustee reserves the right to introduce any previously admitted exhibit.


Dated: October 23, 2024.

                                                 Respectfully submitted,
                                                 PORTER HEDGES LLP

                                                 By: /s/ Joshua W. Wolfshohl
                                                 Joshua W. Wolfshohl
                                                 Texas Bar No. 24038592
                                                 1000 Main Street, 36th Floor
                                                 Houston, Texas 77002
                                                 Telephone: (713) 226-6000
                                                 Facsimile: (713) 226-6248
                                                 jwolfshohl@porterhedges.com

                                                 AND

                                                 Erin E. Jones
                                                 Texas Bar No. 24032478

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                                                 Jones Murray LLP
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                                                 Houston, Tx 77007
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                                                 erin@jonesmurray.com


                                                 COUNSEL TO
                                                 CHRISTOPHER R. MURRAY,
                                                 CHAPTER 7 TRUSTEE



                                CERTIFICATE OF SERVICE

        I certify that on October 23, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System in the United States Bankruptcy Court for the Southern
District of Texas.


                                                    /s/ Joshua W. Wolfshohl
                                                        Joshua W. Wolfshohl




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